ll

 

Case 5:14-cV-01084-D Document1-1 Filed10/06/14 Pe?elof 18: § /

MM;:M MM men .N mer

20 o . OKL tHOMA go
IN THE DISTRICT COURT OF OKLAHOMA COUNTY
STATE OF OKLAHOMA

JOHN E. BAYRO,
Plaintii’f,
versus
STATE FARM FIRE AND CASUALTY

COMPANY, JIM EVANS INSURANCE
AGENCY, INC., and STAY'I`ON A. COONS

Defendants.
.IZELTl_OH
COMES NOW the Plaintifl`, JOHN E. BAYRO (hereinaiter “Plajntiff”), and for
his causes of action against Defendants, STATE FARM FIRE AND CASUALTY

COMPANY, (hereinafter collectively referred to as “STA'I`E FARM”), JIM EVANS

INSURANCE AGENCY, INC. (hereinatter “EVANS INS. AGENCY”), and STAYTON

A. COONS (hereinafter “COONS”) hereby states as follows:

STATEMENT OF FAC'I'S

1. Plaintiii” is situated in Oklahoma City, Oklahoma County, Oklahoma. Plaintiit` has
an insurable interest in the property located at 625 SW 161st Street, Oklahoma
City, Oklahoma 73170~7672.

2. Defendant, STATE FARM, is a corporation incorporated under the laws of the
State of Illinois, and is an insurance company registered to engage in the business
of insurance in the state of Oklahorna.

3. Defendant, EVANS INS. AGENCY, is an insurance agency incorporated under

the laws of the State of lllinois, having his principal place of business in

Oklahoma.

EXH|B|T

_;

wbbl¢$’

criwa

UNTY

 

Case 5:14-cV-01084-D Document 1-1 Filed 10/06/14 Page 2 of 18

Defendant, COONS, upon information and belief, is licensed as an insurance
adjuster in the state of Oklahonia. COONS’ adjuster license number in the State of
Oklahoma is # 0040162453. This cause of action arises out of Defendant’s actions
and/or inactions during the investigation and evaluation of Plaintiffs’ claim. This
Defendant is an individual that was hired as an adjuster by one or more other
Defendants herein.

Plaintiti` entered into a contract for insurance With Defendant, STATE FARM to
provide coverage for its property and its contents. Plaintiff’s insured property is
located in Oklahoma County, Oklahoma.

Plaintiff purchased the policy of insurance through the offices of Defendant,
EVANS INS. AGENCY. At the time Plaintiff purchased the policy of insurance
with Defendant STATE FARM, the Defendant EVANS INS. AGENCY was an
agent and/or an ostensible agent of Defendant STATE FARM.

Defendant, EVANS INS. AGENCY, Was familiar with Plaintiii` and has served as
Plaintiff’s primary insurance agent for its insurance needs. Defendant, STATE
FARM, advised PlaintiH of the need to maintain replacement cost coverage on the
property.

Plaintiff relied on Defendant, EVANS INS. AGENCY’s representations and
purchased the same. Plaintitf trusted and believed Defendant, EVANS INS.
AGENCY had the requisite insurance agent skills and expertise to properly
procure the replacement cost insurance coverage Plaintitf requested

Thereafter Defendant, STATE FAR_M, issued the Horneowners policy of

insurance, Policy 36-EJ-3l30-5, to the Plaintiff.

10.

1].

12.

13.

l4.

15.

16.

17.

 

ease 5:14-cv-01034-D Documem 1-1 Filed 10/06/14'_ Page 3 of 13

Defendant, STATE FARM, represented to the Plaintift`, directly and through its
agent, Defendant, EVANS INS. AGENCY, that it would conduct itself in
accordance with Oklahoma law and would fully and faithfully investigate and pay
claims. Plaintiff relied on said representations
On or about .lune 1, 2013, the property insured by Plaintiff under the subject
insurance policy was severely damaged as a direct result of a wind/hailstoirn.
Plaintiff timely and properly submitted a claim to Defendant, STATE FARM, for
the property damage incurred due to the wind/hailstorm.
Defendant, STATE FARM continued that the cause of Plaintift"s property damage
claim was due to wind/hailstonn and that the loss was covered under the terms
and conditions of the insurance policy with Defendant, STATE FARM.
Defendant, STATE FARM assigned a claim number of 36~299M-337.
STATUTOR¥ AUTHORITY
This suit is being brought, in part, under the Oklahoma Unfair Settlement
Practices Act, Okla. Stat. Ann. §36-1250.5; and the Oklahoma Consumer
Protection Act, 15 Oka. Stat. §753.

FIRST cAUsE oF ACTION
MQF_C®_LRA_C_T.

Plaintiff adopts and incorporates by reference paragraphs l through l4 above as if
fully plead herein, and for further claims against the Defendant, STATE FARM,
alleges as follows:

PlaintiH entered into a contract for insurance with Defendant, STATE FARM, to
provide coverage for the dwelling and personal property

At all times material hereto, the policy of insurance, Policy No. 36-EJ-3130-5,

18.

l9.

20.

21.

22.

23.

24.

25.

Case 5:14-cV-01084-D Document 1-1 Filed 10/06/14 Page 4 of 18

was in full force and effect

Plaintiff provided timely and proper notice of his claim of property damage
resultant from the June l, 2013 wind/hailstoirn.

Plaintiff has complied with the terms and conditions and ali conditions precedent
under the policy of insurance

This notwithstanding, the Defendant, STATE FARM, has breached its contractual
obligations under the terms and conditions of the insurance contract with Plaintit`t`
by failing to pay Plaintiff all benefits owed.

As a result of the Defendant, STATE FARM’ breach of contract the Plaintiff has
sustained financial losses, mental and emotional distress, and has been damaged
in an amount in excess of Ten Thousand Dollars ($l0,000.00), exclusive of
attorneys’ fees, costs, and all interest allowed by law.

The conduct of Defendant, STATE FARM, was intentional, willidl, malicious, and
in reckless disregard to the rights of Plaintiff, and said conduct is sufficiently
egregious in nature to warrant the imposition of punitive damages

SECOND CAUSE OF ACTION
BAD FAITH

Plaintiti" adopts and incorporates by reference paragraphs l through 22 above as if
fully plead herein, and for further claims against the Defendants, STATE FARM,
and COONS, (sometimes referred to hereafter as the “DEFENDANTS”). alleges
as follows:

Defendants, STATE FARM, and COONS, owed a duty to Plaintiff to deal fairly
and act in good faith.

Defendants, STATE FARM, and COONS, breached their duty to deal fairly and

26.

Case 5:14-cV-01084-D Document 1-1 Filed 10/06/14 Page 5 of 18

act in good faith by engaging in the following acts and/or omissions:

a.

Failing to pay the full and fair amount for the property damage sustained
by Plaintiif during the June l, 2013 wind/hailstorm in accordance with the
terms and conditions of the insurance poilcy.

F ailing to pay all additional coverages due and owing to Plaintiif under the
terms and conditions of the insurance policy

Reducing the fair amount of Plaintiff’s claims unfairly and without a valid
basis.

Violating the Unfair Claims Settlement Practices Act, 36 O.S. §§1250.1-
1250.16 by wrongfully, intentionally and repeatedly withholding benefits
and coverages due and owing to the Plaintiff under the terms and
conditions of the insurance policy.

Wrongfully, intentionally and repeatedly failing to communicate all
coverages and benefits applicable to Plaintiff’s claim.

Forcing Plaintiff to obtain legal counsel to recover insurance benefits
entitled to under the terms and conditions of the insurance contract

Failing to conduct a fair and objective investigation of the damage to
Plaintiff’s property

Intentionally engaging in an outcome oriented investigation

Intentionally engaging in a systematic scheme designed to save money
otherwise due and owing to the Plaintit`f and other similarly situated

insureds as a cost-saving mechanism

Defendants, STATE FARM’S, and COONS’ obligations to the Plaintif`f arise from

27.

28.

29.

30.

31.

32.

33.

 

Case 5:14-cV-01084-D Document 1-1 Filed 10/06/14 Page 6 of 18

both express written terms under the insurance policy and under the Oklahoina
Insurance Code as well as implied obligations under Oklahoma law.

Defendants, STATE FARM’S, and COONS’ failure to implement and/or follow
the statutory iinpositions under the Oklahoma Insurance Code constitute bad faith.
Defendants, STATE FARM’S, and COONS’ conduct is a material breach of the
terms and conditions of the insurance contract entered into with the Plaintiff and
constitutes bad faith.

As a direct and proximate result of Defendants, STATE FARM’S, and COONS’
unfair claims handling conduct, Plaintiif’s claim was unnecessarily delayed,
inadequately investigated, and wronfgully underpaid. Said actions resulted in
additional profits and a financial windfall to Defendant, STATE FARM.

As a result of the Defendants, STATE FARM’S, and COONS’ conduct the
Plaintitf has sustained financial losses, mental and emotional distress, and has
been damaged in an amount in excess of Ten Thousand Dollars ($10,000.00),
exclusive of attomeys’ fees, costs, and all interest allowed by law.

The conduct of Defendants, STATE FARM, and COONS was intentional, willful,
malicious, and in reckless disregard to the rights of Plaintitf, and said conduct is
sufficiently egregious in nature to warrant the imposition of punitive damages
Plaintiff further alleges Defendant, STATE FARM enjoyed increased financial
benefits and ill-gotten gains as a direct result of the intentional and wrongful
conduct described above, which resulted in further damage to the Plaintiff.

THIRD CAUSE OF ACTION
BREACH OF FIDUCIARY DUTY

Plaintiff adopts and incorporates by reference paragraphs l through 32 above as if

34.

35.

36.

37.

38.

39.

 

Case 5:14-cV-01084-D Document 1-1 Filed 10/06/14 Page 7 of 18

fully plead hereiu, and for further claims against the Defendants alleges as
follows:

Due to the unequal bargaining power between Plaintiff and Defendants, the quasi-
public nature of insurance, and the potential for Defendants to unscrupiously
exploit that power at a time when Plaintiff was most vulberable, a special
relationship akin to that of a fiduciary duty exists between Plaintif and
Defendants.

As a result of the special relationship, Defendants owed a fiduciary duty to their
insured to act in a manner consistent with the best interests of their insureds

A fiduciary duty existed between Plaintiff and Defendant, EVANS INS.
AGENCY. The overwhelming influence of Defendant, EVANS INS. AGENCY
over Plaintiff, and Plaintiff’s dependency and trust in its insurance agent, and
Defendant, EVANS INS. AGENCY’s assurance it could procure the insurance
policy Plaintitf requested creates a fiduciary status.

Given the specialized knowledge the Defendant, STATE FARM, possessed with
regard to the terms and conditions of the insurance policy, the Defendant, STATE
FARM’S duty to act reasonably created such a special relationship so as to make
the Defendant, STATE FARM, a fiduciary

The Defendants breached their fiduciary duties owed to the Plaintiii`.

As a result of Defendants’ breach of fiduciary duties, Plaintiff has sustained
financial losses, mental and emotional distress, and has been damaged in an
amount in excess of Ten Thousand Dollars ($10,000.00), exclusive of attorneys’

fees, costs, and all interest allowed by law.

40.

41.

42.

43.

44.

45.

46.

 

Case 5:14-cV-01084-D Document 1-1 Filed 10/06/14 Page 8 of 18

The conduct of Defendants was intentional, Wiilful, malicious, and in reckless
disregard to the rights of Plaintiff, and said conduct is sufficiently egregious in
nature to warrant the imposition of punitive damages

FOURTH CAUSE OF ACTION
NEGLIGENCE IN TI-IE PROCUREMENT OF INSURANCE

Plaintiff adopts and incorporates by reference paragraphs 1 through 40 above as if
fully plead herein, and for further claims against the Defendants alleges as
follows:

Defendant, EVANS INS. AGENCY, Was familiar with Plaintiff and had been
hired as Plaintiff’s primary insurance agent for the property insurance needs. In
this capacity, Defendant, EVANS INS. AGENCY, advised Plaintiff of the need to
purchase and maintain the more expensive replacement cost coverage so that its
business dwelling and personal property would be replaced in the event of
damage or destruction to their property by a covered loss.

Plaintiff relied upon Defendant, EVANS INS. AGENCY’s representations and
annually purchased the suggested coverage by paying a higher premium each
year.

Defendant, EVANS INS. AGENCY, procured the subject replacement cost policy
for Plaintiff.

At all times relevant hereto, the Defendant, EVANS INS. AGENCY, was an agent
and/or an ostensible agent of Defendant, STATE FARM.

Defendant, STATE FARM, owed Plaintiff a duty to act in good faith and to
exercise reasonable care, skill and diligence in the procurement of insurance for

Plaintiff, and in the notification of insurance coverage options to the Plaintiff.

47.

48.

49.

50.

51.

52.

53.

 

Case 5:14-cV-01084-D Document 1-1 Filed 10/06/14 Page 9_01c 18

Defendant, EVANS INS. AGENCY, had a duty to inform Plaintiff of all
coverages, benefits, limitations and exclusions in the coverage procured
Defendant, EVANS INS. AGENCY, breached its duty owed to Plaintiff and is
liable to the Plaintiff because the insurance requested by Plaintiff was not
procured as promised and Plaintiff suffered a loss.

Defendant EVANS INS. AGENCY breached its duty owed to Plaintiff by:

a. Procuring an insurance policy that did not serve to actually replace its
property and personal property when it was damaged or destroyed by a
covered loss.

b. Procuring an insurance policy that did not accurately reflect the
replacement cost of Plaintiff’s dwelling.

c. Failing to inform Plaintiff of the limitations of the insurance policy
procured for Plaintiff.

Defendant, EVANS INS. AGENCY, was negligent and breached its duty owed to

Plaintiff by failing to review the policy procured for Plaintiff to ensure it provided

appropriate and adequate coverage

Plaintiff reasonably believed the insurance policy procured and mainained by

Defendant, EVANS INS. AGENCY, was in conformity to their agreement with

Defendant, EVANS INS. AGENCY.

Plaintitf relied upon Defendant, EVANS lNS. AGENCY, to procure and maintain

appropriate and adequate coverage

Defendant, EVANS INS. AGENCY knew or should have known Plaintiff relied

upon it to procure appropriate and adequate coverage, and it is foreseeable that the

54.

55.

56.

57.

58.

59`

Case 5:14-cV-01084-D Document 1-1 Filed 10/06/14 Page 10 of 18

failure to procure appropriate and adequate coverage for Plaintiff could
unnecessarily expose Plaintiff to significant harm, losses and damages
The Defendant, EVANS INS. AGENCY was an agent and/or an ostensible agent
of Defendant, STATE FARM, and Defendant, STATE FARM is vicariously liable
for the conduct of Defendant, EVANS INS. AGENCY.
As a result of Defendants’ conduct, Plaintitl` has sustained financial losses, mental
and emotional distress, and has been damaged in an amount in excess of Ten
Thousand Dollars ($10,000.00), exclusive of attorneys’ fees, costs, and all interest
allowed by law.
The conduct of Defendants was intentional, willful, malicious, and in reckless
disregard to the rights of Plaintiff, and said conduct is sufficiently egregious in
nature to warrant the imposition of punitive damages
FIFTH CAUSE OF ACTION
CONSTRUCTIVE FRAUD AND
NEGLIGENT MISREPRESENTATION
Plaintiff adopts and incorporates by reference paragraphs l through 56 above as if
fully plead herein, and for further claims against the Defendants alleges as
follows:
Defendant, EVANS INS. AGENCY, had a duty to exercise reasonable diligence
and skill in obtaining and notifying Plaintiff of insurance coverage options.
Defendant, EVANS INS. AGENCY, breached its duty to Plaintiff by
misrepresenting to Plaintiff as follows:
a. That the insurance procured was truly one of “replacernent.”

b. That the amount of coverage procured, and for which premiums were

60.

6l.

62.

63.

65.

 

Case 5:14-cV-01084-D Document 1-1 Filed 10/06/14 Page 11 of 18

paid, was equal to the estimated replacement cost of Plaintiff"s property.

c. That the amount of coverage procured would provide the coverage
necessary for Plaintiff to replace its property in the event it was destroyed
by a covered event.

d. That the insurance policy procurred would comply with Plaintiit’s
reasonable expectations that the property would be restored to its pre-loss
condition in the event of a covered loss.

That as a result of Defendant, EVANS INS. AGENCY’S breach of duty,

Defendant, EVANS INS. AGENCY, gained an advantage to the prejudice and

detriment of Plaintiff.

Defendant, EVANS INS. AGENCY, misrepresented the nature of the insurance

policy procured for Plaintiff`.

Defendant, EVANS INS. AGENCY, misrepresented the policy as one which was

necessary to provide appropriate and adequate coverage for Plaintiff’s business

property and personal property

Defendant, EVANS INS. AGENCY, misrepresented the policy was one which was

in an amount necessary to replace Plaintiff’s property in the event it was

destroyed by a covered event.

Defendant, EVANS INS. AGENCY’S misrepresentations constitute constructive

fraud.

Plaintiff was induced to accept and purchase the Defendant, STATE FARM,

policy of insurance by Defendant, EVANS INS. AGENCY’S misrepresentations

and constructive fraud.

ll

66.

67.

68.

69.

70.

7l.

72.

Case 5:14-cV-01084-D Document 1-1 Filed 10/06/14 Page 12 of 18

Plaintit`t` was misled by Defendant, EVANS INS. AGENCY’s misrepresentations
and constructive fraud.

The Defendant, EVANS INS. AGENCY, was an agent and/or an ostensible agent
of Defendant, STATE FARM for purposes of these misrepresentations and as
such the Defendant, STATE FARM, is vicariously liable for the conduct of
Defendant, EVANS INS. AGENCY.

As a result of the Defendants’ misrepresentations and constructive fraud, Plaintiff
has sustained financial losses, mental and emotional distress, and has been
damaged in an amount in excess of Ten Thousand Dollars ($10,000.00), exclusive
of attorneys’ fees, costs, and all interest allowed by law.

Plaintiff is further entitled to reformation of the insurance contract to provide
coverage consistent with the Defendant, EVANS INS. AGENCY’S
misrepresentations

The conduct of Defendants was intentional, willful, malicious, and in reckless
disregard to the rights of Plaintiff, and/or was grossly negligence, and is
sufficiently egregious in nature to warrant the imposition of punitive damages

SIXTH CAUSE OF ACTION
NEGLIGENT UNDERWRITING

 

Plaintiff adopts and incorporates by reference paragraphs l through 70 above as if
fully plead herein, and for further claims against the Defendants alleges as
follows:

At the time the insurance policy Was sold to Plaintiff, Defendants were obligated
to utilize reasonable valuation methodology to determine the costs which

Defendants considered necessary to cover the replacement costs of Plaintiff’s

Case 5:14-cV-01084-D Document1-1 Filed 10/06/14 Page 13 of 18

73.

74.

75.

76.

77.

78.

property As such, Defendants were then prohibited from writing a policy for
more insurance than they considered necessary to cover the replacement cost of
Plaintiff’s property as determined at the time the subject policy was written.
Thereafter, Defendants owed a duty to Plaintitf to exercise good faith, reasonable
care, skill and expertise in the underwriting analysis to ensure the insurance
policy provided appropriate and adequate coverage once the insurer-insured
relationship was established.

Defendants breached their duties to Plaintiff to exercise good faith, reasonable
care, skill and expertise in failing to establish an accurate and consistent
methodology for calculating the replacement cost of Plaintiff’s dwelling and/or
personal property

Defendants’ breach resulted in both inconsistent and inaccurace replacement cost
valuations Whereby the Plaintii`f paid premiums for policy limits that did not
accurately reflect the risks insured.

Defendants further breached their duties by automatically applying Defendant,
STATE FARM’S annual inflationary adjustments which were utilized to increase
Plaintiffs’ policy limits and premiums without regard to whether or not the
inflationary adjustment increase was necessary in relation to the dwelling’s
valuation at the time.

The conduct and inconsistencies referenced herein violate Defendants’ duties of
good faith and fair dealing implicit in the insurance contract with Plaintilf and
other Oklahoma policyholders

Defendants’ obligations arise from both the express written terms of the policy

13

79.

80.

81.

82.

Case 5:14-cV-01084-D ‘Document 1-1 Filed 10/06/14 Page 14 of 18

and the Oklahoma Insurance Code and Defendants’ failure to implement and/or

follow Oklahoma’s statutory Insurance Code also constitutes unfair claims

handling

faith and fair dealing which is inherent in all insurance contracts within the State

of Oklahoma.

requires it to be held to a duty of reasonable care, and that the burden of the
resulting liability for breach of this duty be imposed upon them. This duty exists
to foreseeability of the harm to Plaintiff which could occur as a result of failure to
underwrite or procure adequate and appropriate insurance; the procurement of
inadequate and improper insurance is the direct cause of the harm and injury

suffered by Plaintiff; and the moral blame for the failure to procure and

underwrite the current policy lies with the Defendants.

procuring and underwriting the correct insurance policy for the needs of the
insured (with resulting liability for breach thereot) is minimal given the expertise
and uneven bargaining power of the Defendants, and Defendants’ representations

of being an expert in the field of providing insurance to the general public, such as

Plaintiff.

ensure and maintain an insurance policy which provided appropriate and adequate

coverage

14

Defendants’ conduct referenced herein constitutes a breach of this duty of good

Defendants’ failure to procure the proper insurance product morally and legally

Further, the burden on the Defendants of imposing a duty to exercise care in

Plaintiff relied on Defendants to conduct an appropriate underwriting analysis to

 

C`ase` 5:14-cV-0108ZF-D L)ocument 1-1 l-ileo 10/‘06/14 Page 15 of 18

83.

84.

85.

86.

87.

88.

89.

Defendants breached their duties owed to Plaintitf by failing to conduct an
appropriate underwriting analysis which resulted in issuing a policy of insurance
to Plaintiff that did not provide appropriate and adequate coverage to Plaintiff.

As a result of the Defendants’ conduct, Plaintiff has sustained financial losses,
mental and emotional distress, and has been damaged in an amount in excess of
Ten Thousand Dollars ($10,000.00), exclusive of attorneys’ fees, costs, and all
interest allowed by law.

The conduct of Defendants was intentional, willful, malicious, and in reckless
disregard to the rights of Plaintiff, and/or was grossly negligence, and is
sufficiently egregious in nature to warrant the imposition of punitive damages

SEVENTH CAUSE OF ACTION
VIOLATIONS OF OKLAHOMA CONSUMER PROTECTION ACT

 

Plaintiff adopts and incorporates by reference paragraphs l through 85 above as if

fully plead herein, and for further claims against the Defendants alleges as

follows:

Plaintiff` brings forth each and every cause of action alleged above under the

Oklahoma Consumer Protection Act pursuant to its tie-in provision.

At all material times hereto, Plaintiff was a consumer who purchased insurance

products and services from Defendant.

Defendant has violated the Oklahoma Consumer Protection Act in the manners

including, but not limited to, the following:

(l) Representing that the agreement confers or involves rights, remedies, or
obligations Which it does not have, or involve, or which are prohibited by law;

(2) Failing to disclose information concerning goods or services which was

15

Case 5:14-cv-0108I-D*Document 1-1 Filed 10/06/14 Page 16 of 18

known at the time of the transaction when such failure to disclose such
information was intended to induce the consumer into a transaction that the
consumer Would not have entered into had the information been di sclosed;

(3) Engaging in an unconscionable course of conduct.

(4) At all material times hereto, Plaintiff was a consumer of insurance services or
products of Defendant, and Plaintiff would show that Defendant’s violations
as set forth above, constitute a violation of the Oklahoma Consumer
Protection Act, causing Plaintiff damages.

(5) By accepting insurance premiums but refusing without a reasonable basis to
pay benefits due and owing, Defendant has engaged in an unconscionable
action or course of action as prohibited by the Oklahoma Consumer Protection
Act, in that Defendant took advantage of Plaintitf"s lack of knowledge, ability,
experience, and capacity to a grossly unfair degree, that also resulted in a

gross disparity between the consideration paid in the transaction and the value

received.

EIGHTH CAUSE OF ACTION
BREACH OF COMMON LAW
DUTY OF GOOD FAITH AND FAIR DEALING

90. Plaintiff adopts and incorporates by reference paragraphs 1 through 89 above as if
fully plead herein, and for further claims against the Defendants alleges as
follows:

91. Defendants’ conduct, as described above, constitutes a breach of the common law
duty of good faith and fair dealing owed to it’s insured pursuant to the insurance

COIllIaCt.

16

Case 5:14-CV-01084-|I)m Document'l-I"`Filed 10/06/14`"1339€_17 of 18 "

92. Defendants’ conduct, as described above, was in direct contradiction of the

applicable industry standards of good faith and fair dealing

93. Defendants’ failure, as described above, to adequately and reasonable investigate,

evaluate, and pay the benefits owed under the insurance contract, knowing full

well through the exercise of reasonable diligence that its liability was reasonably

clear, resulted in a breach of the duty of good faith and fair dealing.

PRAYER FOR RELIEF

WHEREFORE, premises considered, the Plaintiff prays for judgment against

Defendants, STATE FARM FIRE AND CASUALTY COMPANY, JIM EVANS

INSURANCE AGENCY, INC., and STAYTON COONS, fort

3.

Payment of all contractual benefits for all coverages afforded to Plaintiff
under the subject policy of insurance for damage to its dwelling and
personal property caused by the June l, 2013, wind/hail storrn, together
with interest on all amounts due;

Compensatory damages for intentional infliction of emotional distress and
mental pain and suffering;

Disgorgement of the incureascd financial benefits derived by Defendants
as a direct result of Defendants’ wrongful or intentional, willful, malicious
and/or reckless conduct;

Actual and punitive damages each in an amount in excess of' Ten
Thousand Dollars ($10,000.00); and

Attorneys’ fees, costs and interest, including pre-judgment and post-

judgment interest.

17

'Case 5:14-cv-01084-D_T)0Cument 1-1 Filed 10/06/14 Page 18 of 18_-

ATTORNEYS’ LIEN CLAIMED
JURY TRIAL DEMANDED

Respectfull submitted,

  

_.`___F,. ..
J. DREW HouoHrbN, oBA #18080
FOSHEE & YAFFE

P.O. Box 890420

Oklahoma City, OK 73189

Phone: (405) 232-8080

Fax: (405) 601-1103
dhoughton@f`osheeyaffe.com

MERLIN LAW GROUP

Larry Bache, Esq.

FL State Bar No: 91304

777 s. Harbour Bivd, 9"‘ rigor
Tarnpa, FL 33602
lbache@merlinlawgroup.com
T: 813-229-1000

F: 813-229-3692

Phillip N. Sanov, Esq.

TX State Bar No: 17635959
Three Riverway, Suite 701
Houston, Texas 77056
psanov@merlinlawgroup.com
T: 713-626-8880

F: 713-626-8881

ATTORNEYS FOR PLAINTIFF

18

